23-11007-cgb Doc#146 Filed 10/09/24 Entered 10/09/24 10:22:14 Main Document Pg 1 of 2




  SO ORDERED.

  SIGNED this 09th day of October, 2024.


                                                         ________________________________________
                                                                 CHRISTOPHER G. BRADLEY
                                                            UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

    In re:

    ARTIUSID, INC.,
                                                     §
                                                     §
                                                     §
                                                     §

                                                         T   Case No. 23-11007-cgb

                                                             Chapter 7

                    Alleged Debtor.
                                      O              §
                                                     §
       ORDER GRANTING EMERGENCY MOTION FOR PROTECTIVE ORDER AND
                TO QUASH DEBTOR’S NOTICES OF DEPOSITION

             On this date came on for consideration Collaborative Vision LLC’s and Lisa Matar’s
                          O
   Emergency Motion for Protective Order and to Quash Debtor’s Notices of Deposition [Docket No.

   106] (the “Motion to Quash”). The Court, having considered the Motion to Quash, any response

   by the Debtor, the arguments of counsel, and the pleadings on file, finds that good cause has been
M

   shown and the Motion to Quash is meritorious and should be GRANTED and FINDS that a

   protective order is necessary. It is therefore:

             ORDERED that the Emergency Motion for Protective Order and to Quash Debtor’s

   Notices of Deposition is hereby GRANTED. It is further




                                                                                                   1
   HB: 4857-8878-0261.1
23-11007-cgb Doc#146 Filed 10/09/24 Entered 10/09/24 10:22:14 Main Document Pg 2 of 2




            ORDERED that the Debtor’s Notice of Taking Deposition of Collaborative Vision, dated

   September 13, 2024, and Notice of Taking Deposition of Lisa Martar, dated September 13, 2024,

   and the corresponding depositions, are hereby quashed.

                                                ###



   Order submitted by:

   Lynn Hamilton Butler (SBN 03527350)
   lynn.butler@huschblackwell.com
   HUSCH BLACKWELL LLP
   111 Congress Ave., Suite 1400
   Austin, Texas 78701
   (512) 472-5456
   (512) 479-1101 facsimile

   -and-

   Thomas J. Zavala (SBN 24116265)
   tom.zavala@huschblackwell.com

                                                 T
   HUSCH BLACKWELL LLP
   1900 N. Pear Street, Suite 1800
                                  O
   Dallas, Texas 75201
   (214) 999-6100
   (214) 999-6170 facsimile
                          O
   Attorneys for Collaborative Vision LLC
M


                                                                                              2
   HB: 4857-8878-0261.1
